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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ROME
UNITED STATES

VERSUS                                   Criminal File No.4:17CR6HLM/WEJ

NILAGEO ALVAREZ-ACOSTA

      Defendant

                     MOTION TO SEVER DEFENDANTS
                  (BRUTON PROBLEM and "SPILL OVER")

      COMES NOW, the Defendant, NILAGEO ALVAREZ ACOSTA

(hereinafter Mr. Acosta), pursuant to Federal Rules of Criminal Procedure 14 and

12(b)(5), by and through the undersigned attorney, and hereby moves this Court to

sever the trial of his case from that of his codefendants. In support of this motion

Mr. Acosta shows as follows:

      1. Mr. Acosta is charged in five (5) counts of a fifteen (15) count

superseding criminal indictment herein.

      2. Mr. Acosta is named in the above-styled superseding indictment along

with three (3) other co-Defendants, although one might be pleading guilty today.

      3. Several codefendants have given statements which directly or indirectly

incriminate Mr. Acosta. Generally, the government will seek to introduce

codefendants' statements against a defendant at trial. A problem under Bruton v.

United States, 391 U.S. 123 (1968), arises in this case if there is a joint trial
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between the alleged co-conspirators. The Sixth Amendment to the Constitution of

the United States guarantees an individual on trial in a criminal case the right to

full and effective cross-examination. If this right to confrontation is hindered, then

the Judge, in his sound discretion, must grant a severance. This is particularly true

when the government's case against Mr. Acosta includes testimony or statements

made by a codefendant.

      4. In addition, Mr. Acosta’s co-defendant may raise defenses which

are antagonistic to his. Mr. Acosta should not be compelled to be tried with

codefendants when there exists a probability that antagonistic defenses will be

raised by them.

      5. As remedy, Rule 14 of the Federal Rules of Criminal Procedure provides

in pertinent part that [i]fit appears that a defendant or the

      government is prejudiced by a joinder of offenses or of defendants in
      an indictment or information or by such joinder for trial together, the
      Court may order an election or separate trials of counts, grant a
      severance of defendants or provide whatever other relief justice
      requires.

      Severance is granted if the moving party can demonstrate that a fair trial

cannot be had without severance, United States v. Kendall, 665 F.2d 126 (7th Cir.

1981), and is among the most important safeguards available to minimize the risk

of prejudice. United States v. Mardian, 546 F.2d 973, 977 (D.C. Cir. 1976);

accord, United States v. Lane, 584 F.2d 60 (5th Cir. 1978).
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      6. In reviewing motions to sever, courts have acknowledged the problems

inherent in the trials of cases involving numerous defendants. In fact, the Supreme

Court has recognized that "the liberal rules of evidence and the wide latitude

accorded the prosecution may, and sometimes do, operate unfairly against an

individual defendant...." Glasser v. United States, 315 U.S. 60, 76 (1942). See also

Spencer v. Texas, 385 U.S. 554 (1967).

      7. The "dangers of transference of guilt" are such that a court should use

"every safeguard to individualize each defendant in his relation to the mass."

Kotteakos v. United States, 328 U.S. 750, 774 (1946). See Blumenthal v. United

States, 332 U.S. 539, 599-60 (1947); see also United States v. Kopituk, 690 F.2d

1189, 1320 (11th Cir. 1982).

      8. The government often takes the position that joinder promotes judicial

economy, but "joint trial is inappropriate if it sacrifices a defendant's right to a

fundamentally fair trial." United States v. Echeles, 352 F.2d 892, 896 (7th Cir.

1965). Joinder of defendants may cause a trial to become unfair and prejudicial to

each defendant for a number of reasons.

      One basic reason is the "spill over" effect found in a trial involving more

than one defendant. Such a "spill over" is widely recognized both as to offenses

and defendants. Invariably, the evidence against separate defendants will have a

different probative value as to each individual defendant. The jury may be unable
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to separate the relative innocence or guilt among the defendants charged. This

confusion may result in a conviction, not on the basis of the evidence relating to

one defendant, but by imputing to that defendant guilt based on the activities of the

other alleged conspirator. United States v. Tolliver, 541 F.2d 958, 962 (2nd Cir.

1976). A conviction based upon guilt transference is fundamentally unfair.

      9. Additionally, a Bruton v. United States, 391 U.S. 123 (1968), problem

arises when there is a joint trial between alleged co-conspirators. The Sixth

Amendment to the Constitution of the United States guarantees an individual on

trial in a criminal case the right to full and effective cross-examination. If this

right to confrontation is hindered, then the judge, in his sound discretion, must

grant a severance. This is particularly true when the government's case against the

defendant includes testimony or statement made by a co- defendant.

      10. Simply redacting the statements in the instant case is not sufficient to

cure the Bruton problem. See Gray v. Maryland, 523 U.S. 185 (1998).
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      WHEREBY NILAGEO ALVAREZ ACOSTA requests that this Honorable

Court grant his motion to sever, and provide him a trial separate from that of his

remaining codefendants who have given statements.

      This the 2nd day of March, 2018.

                                       Respectfully submitted,
                                       JONES & ERWIN, P.C.


                                       By:__(Giles Jones)________________
                                       Attorney for Defendant,
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                          CERTIFICATE OF SERVICE

      This is to certify that I have served this day a copy of the MOTION TO

SEVER DEFENDANTS (BRUTON PROBLEM and "SPILL OVER")

 by electronic filing. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt.

Access to this filing is available through the Court’s electronic filing system.


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      This the 2ND day of March, 2018.

                                         By: _/s/_(Giles Jones)________________
                                            Giles Jones, Attorney at Law
